                                          Case 19-10324           Doc 1        Filed 02/18/19          Page 1 of 23


F11l m this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)     ______                _  _           ____ Chapter           11
                                            _     __
                                                                                                                       D Check if this an
                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        4/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (If known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               Pernix Thera eutics Holdin s Inc.

2.    All other names debtor
      used In the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address            Principal place of business                                   Mailing address, If different from principal place of
                                                                                                business

                                  10 North Park Place
                                  Suite 201
                                  Morristown, NJ 07960
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Morris                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)      http:1/www .pernixtx.com


 6.   Type of debtor              • Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  D Partnership (excluding LLP)
                                  D Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                           Case 19-10324                Doc 1        Filed 02/18/19             Page 2 of 23
Debtor    Pernix Thera eutics Holdin s Inc.                                                            Case number (if known)
          Name



7.   Describe debtor's business A. Check one:
                                       D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (518))
                                       D Railroad (as defined in 11 U.S.C. § 101(44))
                                       D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       • None of the above

                                       B. Check all that apply
                                       D Tax-exempt entity (as described in 26 U.S.C. §501)
                                       D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3254

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                       D Chapter 7
     debtor filing?
                                       D Chapter 9
                                       • Chapter 11. Check all that apply:
                                                             D    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             D    The debtor is a small business debtor as defined in 11 U.S.C. § 101(510). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1 )(B).
                                                             D    A plan is being filed with this petition.
                                                             D    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             •    The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             D    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       D Chapter 12



9.   Were prior bankruptcy             • No.
     cases filed by or against
     the debtor within the last 8      D Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                   When - - - - - - -
                                                                                                            -
                                                                                                              Case number
                                                District -             - When -
                                                                 -------                               - - - - -
                                                                                                               -                Case number

10. Are any bankruptcy cases           D No
    pending or being filed by a
    business partner or an             • Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                              See Schedule 1
                                                Debtor -----------------            Relationship
                                                                              - --
                                                District ---------- When - - - - - -Case number, if known




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                        Case 19-10324               Doc 1         Filed 02/18/19            Page 3 of 23
Debtor    Pernix Thera eutics Holdin s Inc.
          Name
                                                                                                  Case number (if known)
                                                                                                                           ----- - - - - ----
11. Why Is the case filed in    Check all that apply:
     this district?
                                D       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                •       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or       • No
    have possession of any
    real property or personal               Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                D Yes.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                            D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?

                                            D It needs to be physically secured or protected from the weather.
                                            D It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            D Other
                                            Where Is the property?
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                            DNo
                                            D Yes.      Insurance agency
                                                        Contact name
                                                        Phone



          Statistical and administrative information

13. Debtor's estimation of               Check one:
    available funds
                                         D Funds will be available for distribution to unsecured creditors.

                                         • After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of          • 1-49                                           D 1,000-5,ooo                              D 25,001-50,000
    creditors                                                                     D 5001-10,000                              D 50,001-100,000
                                 D 50-99
                                 D 100-199                                        D 10,001-25,000                            D More than100,000
                                 D 200-999

15. Estimated Assets             D $0 - $50,000                                   D $1,000,001 - $10 million                 D $500,000,001 - $1 billion
                                 D $50,001 - $100,000                             D $10,000,001 - $50 million                D $1,000,000,001 - $1o billion
                                 D $100,001 - $500,000                            D $50,000,001 - $100 million               D $10,000,000,001 - $50 billion
                                 D $500,001 - $1 million                          • $100,000,001 - $500 million              D More than $50 billion


16. Estimated liabilities        D $0 - $50,000                                   D $1,000,001 - $10 million                 D $500,000,001 - $1 billion
                                 D $50,001 - $100,000                             D $10,000,001 - $50 million                D $1,000,000,001 - $10 billion
                                 D $100,001 - $500,000                            D $50,000,001 - $100 million               D $10,000,000,001 - $50 billion
                                 D $500,001 - $1 million                          • $100,000,001 - $500 million              D More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                   Case 19-10324                 Doc 1         Filed 02/18/19              Page 4 of 23


Debtor    Pernix Thera eutics Holdln s, Inc.                                                       Case number (ii known)
                                                                                                                            --------- - -----
          Name



          Request for Relief, Declaration, and Signatures


WARNING .. Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor_

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed ·On     02/18/2019



                                                                                                          John A. Sedor
                                                                                                          Printed name




18. Signature of attorney    X                                                                             Date 02/18/2019
                                                                                                                MM/ DD/YYYY

                                 Adam G. Landis 3407
                                 Printed name

                                 Landis Rath & Cobb LLP
                                 Firm name

                                 919 Market Street
                                 Suite 1800
                                 Wilmin ton DE 19801
                                 Number, Street, City, State & ZIP Code

                                 Contact phone      (302) 467-4400               Email address      landis@lrclaw.com

                                 3407 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                            Case 19-10324         Doc 1        Filed 02/18/19             Page 5 of 23




Official Form 20IA          (I2ll5)

[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and
Exchange Commission pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                                                    ooA"
and is requesting relief under chapter 11 of the Bankruptcy Code, this Exhibit           shall be
completed and attached to the petition.l

                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELA\ilARE

In re:                                                               Chapter     11


PERNIX THERAPEUTICS HOLDINGS, INC.,
                                                               I
                                                                     CaseNo.       l9-_(                   )

                              Debtor                                 Tax I.D. No.XX-XXXXXXX



                      Attachment to Voluntary Petition for Non-Individuals Filing for
                                     Bankruptcy under Chapter 11

     1. If any of the debtor's securities are registered under Section 12                                      of the Securities
Exchange Act of 1934, the SEC file number is 001-14494

     2. The following financial data is the latest available information and refers to the debtor's
condition        on
                  913012018     la) and lb): and l2l3lll8 for (c). ( d) and (e)

     a.      Total assets                                                                  $       274.770. 000

     b.      Total debts (including debts listed in2.c., below)                            $       447.052.000

     c.      Debt securities held by more than 500 holders

                                                                                                                 Approximate
                                                                                                                 number of
                                                                                                                 holders:

secured          n   unsecured   n    subordinated     n$
secured          n   unsecured   n    subordinated     n$
secured          T   unsecured   I    subordinated     n$
secured          n   unsecured   n    subordinated     n$
secured          n   unsecured   E    subordinated     n$
             1
         The last four digits of the Debtor's federal tax identification number are 4736. The
Debtor's corporate headquarters and its mailing address is 10 North Park Place, Suite 201,
Morristown, NJ 07960.

{ 1228.00r   -w00s4247.}
Official Form 20lA                        Attachment to Voluntary Petition for NonJndividuals Filing for Bankruptcy under   Chapter I 1
                          Case 19-10324      Doc 1        Filed 02/18/19             Page 6 of 23



      d.N umber of shares of preferred stock                                                                    0
      e.N umber of shares common stock                                                                        t7.34 7 048

Comments, if any:




    3. Brief description of debtor's business:
Pemix@ Therapeutics Holdings. Inc. and subsidiaries. is a specialty pharmaceutical company
focused on the acouisition. develooment and           ercizliz,ati on of nrescrintion druss- orimarilv
for the United States market. currentl)' focused on the therapeutic areas of pain and neurology.

      4. List the names of any person who directly or indirectly                    owns, controls, or holds, with
power to vote, 5o/o or more of the voting securities of debtor:
  Renaissance Technolosies Com. ( I.145.996 shares as of 12131/18\




{   1228.001-w0054247.}
Official Form 20lA                  Attachment to Voluntary Petition for Non-lndividuals Filing for Bankruptcy under   Chapter I 1
                          Case 19-10324       Doc 1         Filed 02/18/19      Page 7 of 23



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELA}VARE

In re:                                                         Chapter   11


PERNIX THERAPEUTICS HOLDINGS, INC., I                          Case   No.   19-_           (   )

                            Debtor                             Tax I.D. No.XX-XXXXXXX



                                      SCHEDULE          1   TO PETITION

         On the date hereof, each of the affrliated entities listed below, including the debtor in this
chapter 1l case (collectively, the ooDebtors"), filed a petition in this Court for relief under chapter
11 of title l1 of the United States Code. Contemporaneously with the filing of their petitions, the
Debtors filed a motion requesting that the Court consolidate their chapter l1 cases for procedural
purposes only.


                            Pernix Sleep,Inc.
                            Pernix Ireland Limited
                            Pernix Holdco 3,LLC
                            Pemix Ireland Pain Designated Activity Company
                            Pernix Manufacturing, LLC
                            Pernix Therapeutics, LLC
                            Cypress Pharmaceuticals, Inc.
                            Pernix Holdco l, LLC
                            Pernix Holdco 2,LLC
                            Respicopea,Inc.
                            Macoven Pharmaceuticals, L.L.C.
                            Gaine,Inc.
                            Hawthorn Pharmaceuticals, Inc.




I
 The last four digits of the Debtor's federal tax identification number are 4736. The Debtor's corporate headquarters
and its mailing address is l0 North Park Place, Suite 201, Morristown, NJ 07960.



{   1228.001-w00s3085.)
                                             Case 19-10324                  Doc 1            Filed 02/18/19         Page 8 of 23


Fill in this information to identify the case:
          Name: Pernix Sleep. lnc., et a/.
United States Bankruptcy Court for the District of Delaware
Case Number:

                                                                                                                                                          E   Cfreck if this is an
                                                                                                                                                              amended fìling


         Official Form 204
         Ghapter 11 or Ghapter 9 Gasesl Gonsolidated List of Greditors Who Have the 3O
         Larg est Unsecured Glaims and Are Not lnsiders                             12115


         A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. lnclude claims which the debtor
         disputes.Donotincludeclaimsbyanypersonorentitywhoisaninsider,asdefinedinllU.S.C.Sl0l(31).                                  Also,donotincludeclaimsby
         secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
         largest unsecured claims.


 |:       Name of creditor and complete
 a        mailing address, including zip code
 I

                                                                                                                                                                      for value of
    :
                                                                                                   loans,                                             to calculate unsecured claim.

                                                                                                   services, and
                                                                                                                              Total cla¡m,   if       Deduction for     Unsecured
                                                                                                                              partially               value of          claim
                                                                                                                              sêcured                 collateral or
                                                                                                                                                      setoff
            lmington Trust, National                                                                                                                                      $78,225,000
             ociation                                                                                                                                                                    :


             South Sixth Street
                1290
               eapoJLs,..MN   55402
              ington Trust, National                                                                                                                                       $35,743,000
                ation
             South Sixth Street
           uite 1290
                              5.5402
            remark                                                                                                                                                          $3,394,439
            11 Sanders Rd                                                                                                                         I

               brook, lL 60062


             lmetto GBA - TPA Operations         ,Attn: General Counsel                            Coverage Gap                                                             92,024,874
           7 Technology Cir                      l-an-æ+zttzxt
                 bia, SC 29203-9591              ,itpaoperations@tpadm        in   istrator. com


                Medicaid Fraud Division          lAttn: Office of the Attorney General
              Box 12548                          iFax: (512) 475-2994
             stin, Texas 78711-2548
                                                 i
                                                                                                                                                                                             :
                                                 L




                         e LLC                   Atin: General Counsel                                       nt    ntingent                                                 $2,000,000
            Crescent Drive                       rma rilyn. r. o   rndorff@gsk. com                                                                                                          :

                                                                                                                                                                                             :
             adelphia PA 19112                                                                                                                                                               :
                                                 I
                                                                                                                                                                                             :




            cKesson Corporation                    Mark Miller, VP, Procurement                                                                                             $1,954,634.
               State Highway 161                  iServices McKesson
               , TX 75037                         i(972) 446-4202
                                                     Mark. Miller@McKesson. com

                                                                                                                                                                             $1 ,846,1
          tCardinal Health                        $ttn: General Counsel                            Wholesaler
          17000 Cardinal Place                       tFax: 614-652-7325                            :



                   OH 43017                       tchieflegalofficer@cardinalhealth.co
          'Dublin,
                                                  it



                                       chapter 11 or chapter 9 cases: List of creditors who Have the 30 Largest unsecured claims                                            page   1

f       rzzgtFlqj,tdóggd?g1
                                           Case 19-10324                   Doc 1        Filed 02/18/19             Page 9 of 23


        Debtor         Pernix Sleeo. lnc.. eÍ al.                                                             Case number   (Ï
                       Name




                 ark                            jAttn: Senior Vice President,           t\tco                                     $1 ,303,1 7€
l        2211 Sanders Rd                        fFrade Relations
         \orthbrook, lL 60062                          (847) 55s-3428
                                                lFax:
                                                I

                                                                                        Settlement                                $1 ,152,50C
      Medicine To Go Pharmacies, lnc.
    0 :/o Heffler Claims Group                  lStem Thomasson LLP
                                                l(973) 379-7s00
1



      1515 Market St. Ste 1700                  þndrew@sternthomasson.            com
      Philadelphia, PA 19102                    f
                                                I

         Quick Care Pharmacy lnc.                                                       rrescription D¡rect                       $1,068,731
11
                                                lAttn:CFO
         130 Crossways Park Drive               lmfang@q uickcarepharmacy .com
         Suite 101                              I
                                                I
         r/Voodbury, NY I 1797                  1




      Defense Health Agency                     lAttn: General Counsel, Contract        friCare                                   $'1   ,005,263
    2
      Iricare Mgmt Activity                     iResource Management (CRM)
1



      16401 E. Centretech Parkway               ;UFVARR Reouests@mail.mil
      Aurora, CO 8001 1-9066                    1-
                                                1



         AmerisourceBergen Drug                 þttn: General Counsel                   Wholesaler                                  $850,80C
1   3
         Corporation                            lEwinderman@amerisourceberge
         1300 Morris Drive
         Chesterbrook PA '19087                 in.com
                                                I

    OptumRx, lnc.                               fittn: S.V.P., lndustry and             uco                                             $814,09'
1 4
    17900 Von Karman Avenue                     lNetwork Relations
    tvlts c4016-0202                            lFax: (949) 988-6085
    lrvine, CA 92614
                                                1


                                                                                        3oupon Adjudicator                              $750,954
15
   RelayHealth                                  lMarina Cantoni Engler
   1564 N.E. Expressway                         t4'.t2-474-11',\0
   Atlanta, GA 30329                            lmarina. cantoni@mckesson.com
                                                1

                                                I

   Signa HealthCare                             þttn: Alex G. Krikorian, R.Ph.,         VICO (Part D)                                   $685,22C
16                                              tM.8.A.
   )00 Cottage Grove Road, 85PHR
   lartford, CT 06152                               lice   President, Pharmaceutical
                                                    lContracting
                                                    llíca mr rrrarr6lcinne nnm
      )rime Therapeutics LLC                                                            N/tco                                           $653,04i
                                                    lAttn: Vice President
    7                                               lPharmaceutical Trade Relations
      1305 Corporate Center Drive
         iagan, MN 55121                            lpatrick. mccaw@primetherapeutic
                                                    ls-com
                                                    I
         rrime Therapeutics LLC                                                         MCO (Part D)                                    $652,786
    I    2900 Ames Crossing Road                        harmaceutical Trade Relations
         -agan, MN 55121


         Recro Gainesville LLC                      lAttn: General Counsel              loyalty / lnventory                             $572,537
    9 1300 Gould Drive
                                                    lJoseph. Musciotto@recrocdmo.cc
         Gainesville, GA 30504                      1m

                                                    1


                                                    t
                                                                                                                                         /   oô
                Healthcare Analytics,                                                             Debt                                            ^oE
             phony Health Solutions                                              .com

          390 E Camelback Road
              nix. AZ 85016




                                    Chapter 11 or Chapter 9 cases: List of Greditors Who Have the 30 Largest unsecured cla¡ms     page 2
{1229.ü&lhtdg$491
                                       Case 19-10324                 Doc 1     Filed 02/18/19             Page 10 of 23


       Debtor     Pernix Sleep. lnc,. ef aL                                                            Case number (if known)
                  Name




       Express Scripts, lnc.              [ttn: F. Everett Neville,            [4CO                                               $407,825
 21
       Cne Express Way                    lChief Trade Relations Officer
       St. Louis, MO 63121                         800-964-1888
                                          lFax
                                          1


       /enable LLP                        lAttn: General Counsel               Trade Debt                                         $388,23€
 22
       1290 Ave of Americas, 20th Fl      ldconde@venable.com
       New York, NY 10104
                                          I

                                          I
       ¡roCom One                                  :General                    ìoyalty                                            $368,62C
 23
       100 E. San Antonio                          nselneilbkv@gmall.com
       Suite 201San Marcos, TX 78666

                                          ry                                   vtco
       3igna HealthCare                            Miller, PharmD                                                                 $353,88'
 ¿4
       300 Cottage Grove Road, BSPHR               President, Pharmaceutical
       lartford, CT 06152


        nteg rated Commercialization      lTherese Brooks                      Ihird Party Logistics                              $351,504
 25
       Solutions, lnc.                    hog-sos- 7639
       3101 Gaylord Parkway                        Brooks@icscon nect.com
       :risco, TX 75034                   Iheresa.
                                          I

    MarketShareMovers                 lAttn : President                                  Adjudicator                              $263,54(
 26 2325
         Heritage Center Drive, Suite lsna ri.Wales@marketsharemovers.
       t17
       =urlong, PA 18925                  |com
                                          I
      PPIB Credit lnvestments             ÌAttn: General Counsel               Royalty                                            $250,690
 27
    lC Rue Gabriel Lippmann
                                          |cppibipinvestments@cppib.com
    --5365 Munsbach                       I
       -uxembourg
                                          l
       ,A/algreen Co.                     iAttn: General Counsel               3PO Rebate                                         $231,894
 28
       300 Wilmot Rd.                             nquarygwalg reens.com
       lst Floor MS:3240                  lnxnnt
                                          I
       )eerfield, lL 60015
                                          1


       Sheffield Pharmaceuticals LLC      jBill Mencer, Controller             lnventory                                          $211,324
 29
       170 Broad Street                   1860-442-4451 x2216
       \,lew London, CT                      Mencer@sheffieldpharma. com
       )6320-531 3                        lBill,
                                          1




       \alpropion Pharmaceuticals, lnc.   lKris Hanson, General Counsel        Non-Debtor JV           Jnliquidated                  $0.0c
 30
       1171 Towne Centre Drive                                                 Related Party
       Suite 270                          lkhanson@nalpropion.com
       San Diego, CA 92'l 22-1 267
                                          1




{1228.001-W00s3903.}
      Official Form 204          Ghapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims      page 3
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELA\ilARE


In re:                                                        Chapter    11


PERNIX THERAPEUTICS HOLDINGS, INC.,I                          CaseNo.     l9-_(               )

                              Debtor.                         Tax I.D. No.XX-XXXXXXX



      STATEMENT OF CORPORATE O\ilNERSHIP PURSUANT TO RULES 1OO7(aX1)
         AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

           Pursuant to rules 1007(a)(1) and7007.l of the Federal Rules of Bankruptcy Procedure,

and to enable the Judges to evaluate possible disqualification or recusal, the above-captioned

debtor and debtor-in-possession (the o'Debtor") hereby discloses that the following                              are


corporations, other than the Debtor or a governmental unit, that directly or indirectly own ten

percent (10%) or more of any class of the Debtor's equity interests:




None.




I
 The last four digits of the Debtor's federal tax identification number are 4736. The Debtor's corporate headquarters
and its mailing address is l0 North Park Place, Suite 20 I , Morristown, NJ 07960.




{   1228.001-w00s3600.}
                                      Case 19-10324                     Doc 1           Filed 02/18/19     Page 12 of 23




F¡ll ¡n th¡s ¡nformation to ¡dentify the case:

 Debtor    name Pernix Therapeutics Holdings, lnc,
 United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

Case number       (¡f known)
                                                                                                                                  I    Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perj ury for Non-lndividual Debtors                                                                                             12115


An ¡ndividual who is author¡zed to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit th¡s
form for the schedules of assets and liab¡l¡t¡es, any other document that requires a declaration that ¡s not included in the document, and any
amendments of those documents. This form must state the ¡ndividual's position or relationship to the debtor, the ident¡ty of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING   - Bankruptcy fraud is a serious cr¡me. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonmentfor up to 20 years, or both. 18 U.S.C. SS 152, f 341,
1519, and 3571.



                 Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an author¡zed agent of the partnership; or another
       individual serving as a representat¡ve of the debtor in this case.

       I have examined         the information in the documents checked below and I have a reasonable belief that the information is true and correct:

           tr     Schedule NB: Assefs-Rea/ and Personal Properfy (Offìcial Form 2064,/8)
           tr     Schedule D: Cred¡tors Who Have Claims Secured by Property (Offtcial Form 206D)
           tr     Schedule E/F: Creditors Who Have Unsecured C/alms (Offlcial Form 206E/F)
           tr     Schedule G: Executory Contracts and Unexpired Leases (Offìcial Form 206G)
           tr     Schedule H: Codebtors (Offìcial Form 206H)
           tr     Summary of Assets and Liabilit¡es for Non-lndividuals (Offìcial Form 206sum)
           tr     Amended Schedule
           I      Chapter 1 1 or Chapter 9 Casesr Llsf of Creditors Who Have the 30 Largest Unsecured Claims and Are Nof /nslders (Official Form 204)
           I      Other document that requ¡res a         declaration Corporate Ownership Statement

       I   declare under penalty of perjury that the foregoing is

           Executed on         02/18/2019                           x
                                                                                                  on       of debtor

                                                                        J    n A. Sedor
                                                                            nted name

                                                                        Chief Executive Officer




Official Form    202                                          Declaration Under Penalty of Perjury for Nonlndividual Debtors
Software Copyright (c) '199ô-2018 Best Case, LLC - M.bestcase.com                                                                                Best Case Bankruptcy
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                                     Pernix Therapeutics Holdings, Inc.

                             Authorization for Filing Voluntary Petition Under
                           Chanter 11 of the Bankruntcv Code and          Matters

          The undersigned Directors of the Board (the "Board")       of Pernix Therapeutics
Holdings, Inc., a Maryland corporation (the "Company"), hereby adopt the following resolutions
(the "Resolutions"):

          WHEREAS, a Special Meeting of the Board was held on February 18,2019;

          \ryHEREAS, the Board has considered the financial and operational conditions of the
Company;

          WHEREAS, the Board has reviewed, considered, and received the recommendation of
senior managemsnt of the Company and the advice of the Company's professionals and advisors
with respect to the strategic alternatives available to the Company, including the possibility of
pursuing a restructuring or sale of the Company's business and assets under chapter 11 of title 11
of the United States Code (as amended or modified, the "Bankruptcy Code");

          \ryHEREAS, the Company intends               to   enter into that ceftain Senior   Secured
Superpriority Debtor-In-Possession Credit Agreement (the "DIP Credit Agreement"), by and
among the Company, as borrower, the lenders party thereto and Cantor Fitzgerald Securities, as
administrative agent for the benefit of the lenders, in order to obtain financing in an aggregate
principal amount of up to $35 million (the "DIP Facility"), the proceeds of which will be used,
(i) to refinance the Company's existing asset-based revolving credit facility, the Credit
Agreement, dated as of July 21,2017 (as amended, restated, supplemented or otherwise modified
from time to time, the "Existing Credit Agreement"), by and among the Company and certain
other subsidiaries of the Company, as borrowers, the lenders from time to time party thereto and
Cantor Fitzgerald Securities, as administrative agent for the benefit of the Lenders, (ii) for
general corporate and working capital purposes, and (iii) to pay fees, costs and expenses incurred
in connection with the Company's and its subsidiaries' chapter 11 cases and the DIP Facility;

          \ilHEREAS, by the terms of the DIP Credit Agreement, the Company and its
subsidiaries, other than certain non-guarantor subsidiaries (the "subsidiary Guarantors"; the
Subsidiary Guarantors together with the Company, the "Loan Parties") ate required to enter into
the Guaranty and Security Agreement in order to (1) guarantee, on a joint and several basis, the
Obligations (as defined in the DIP Credit Agreement) under the DIP Credit Agreement and the
other Loan Documents (as defined in the DIP Credit Agreement) and (2) grant first priority
priming liens and security interests in substantially all of their assets and personal property,
whether now owned or hereafter acquired, to secure the obligations of the Parent and the other
Subsidiary Guarantors under the DIP Credit Agreement and the other Loan Documents and to
provide superpriority claim status with respect thereto;

      WHEREAS, the Board has been advised of the material terms of the DIP Credit
Agreement and the other Loan Documents, has given full consideration to the transactions
contemplated by the DIP Credit Agreement and the other Loan Documents, and has determined


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that the transactions contemplated by the DIP Credit Agreement and the other Loan Documents
are in the best interest of the Company and that it is in the best interest of the Company to (i)
enter into the Guaranty and Security Agreement (the "Guaranty and Security Agreement"), in
order to, guaranty the obligations under the DIP Credit Agreement and under the other Loan
Documents, and to pledge a security interest in substantially all of the Company's assets and
personal property, whether now owned or hereafter acquired, to secure the Secured Obligations
(as defined in the Guaranty and Security Agreement) of the Company and the other Subsidiary
Guarantors, (ii) execute and deliver any mortgage, deeds of trust, security agreements, pledge
agreements, guarantee agreements, control agreements, intellectual property security agreements,
Uniform Commercial Code financing statements (and any amendment or continuation statements
thereto), subordination agreements, notes, stock powers, stock powers, transfers of interest or
other transfer powers (as applicable), other collateral documents, reaffirmation agreements,
forbearance agreements, intercompany notes and such other agreements, instruments, documents
or certificates otherwise identified in or contemplated by the DIP Credit Agreement or Guaranty
and Collateral Agreement (collectively, the "DIP Transaction Documents") and (iii) authorize
the Authorized Persons (as defined below) to take any and all actions as they may deem
appropriate to effectuate the transactions contemplated by the DIP Credit Agreement, the
Guaranty and Security Agreement and each of the other Loan Documents;

        \ryHEREAS, the Company has determined to enter into an Asset Purchase Agreement
(the "Purchase Agreement"), by and among the Company, the other sellers party thereto and
Phoenix Top Holdings LLC (the "Purchaser"), substantially on the terms discussed by the Board,
pursuant to which, among other things, the Purchaser shall acquire a substantial portion of the
assets of the Company and assume a substantial portion of the Company's liabilities, all pursuant
to the terms and conditions set forth in the Purchase Agreement (collectively, the "Asset
Purchase");

             WHEREAS, the Board has been advised                  of the material terms of the Purchase
                                                                                              o'Purchase
Agreement and the ancillary documents to be entered into in connection therewith (the
Agreement Documents") and the transactions contemplated thereby (including the Asset
Purchase) and has participated in discussions and presentations regarding the Asset Purchase,
including (i) discussions with the management of the Company regarding the benefits of the
Asset Purchase to the Company and the terms and conditions of the transaction; (ii) discussions
with Guggenheim Partners, LLC, the financial advisor to the Company, regarding their financial
analysis of the Asset Purchase and (iii) discussions with Davis Polk & Wardwell LLP, the
Company's outside counsel, as to the material terms and conditions of the Purchase Agreement
and the Purchase Agreement Documents;

       WHEREAS, the Board and has given full consideration to the Purchase Agreement and
the Purchase Agreement Documents and the transactions contemplated thereby, including the
Asset Purchase, and has considered such other factors as the Board considered relevant;

        \ilHEREAS, the Board has unanimously determined that it is advisable and in the best
interests of the Company to enter into the Purchase Agreement and the Purchase Agreement
Documents and to consummate the Asset Purchase and the other transactions contemplated
thereby.




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         NOW, THERI,FORE, IT IS HEREBY RESOLVED, that after consideration of the
alternatives presented to it and the recommendations of senior management of the Company and
the advice of the Company's professionals and advisors, the Board has determined in its business
judgment that it is in the best interests of the Company, its creditors, shareholders, employees,
other interested parties, and stakeholders that a voluntary petition be filed by the Company under
chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of
Delaware and the filing of such petition is authorized hereby; and it is further

        RESOLVED, that the Board and any officer of the Company (collectively, the
"Authorized Persons") hereby are, and each of them is, authorized and empowered to (a)
execute, verify and file on behalf of the Company all documents necessary or appropriate in
connection with the filing of said bankruptcy petition, including, without limitation, all petitions,
affidavits, declarations, schedules, statements of financial affairs, lists, motions, applications,
pleadings, and other papers or documents in connection with such chapter 11 petition; (b) take
and perform any and all actions deemed necessary and proper to obtain such relief as authorized
herein and in connection with the Company's chapter 11 case; (c) appear as necessary at all
bankruptcy proceedings on behalf of the Company; and (d) pay all such expenses where
necessary or appropriate in order to carry out fully the intent and accomplish the purposes of the
Resolutions adopted herein; and it is fuither

        RESOLVED, that the Authorized Persons are authorized and empowered to execute,
verify and file on behalf of Pemix Holdco 3,LLC all documents, including, but not limited to, a
written consent or Resolutions, necessary or appropriate to approve the filing of a bankruptcy
petition on behalf of Pernix Holdco 3,LLC; and it is fuither

              RESOLVED, that the Company be, and it hereby is, authorized and empowered to enter
into the DIP Credit Agreement, the Guaranty and Security Agreement and the other DIP
Transaction to which it is a party; and the Authorized Persons are, and each of them is,
authorized and empowered to enter into each of the DIP Credit Agreement, Guaranty and
Security Agreement and the other DIP Transaction to which it is a party and to consummate all
the other transactions contemplated by such DIP Transaction, including, without limitation, to
guarantee the obligations of the Loan Parties under the DIP Credit Agreement, Guaranty and
Security Agreement and the other DIP Transaction, and to grant superpriority status and first
priority priming liens and security interests in, and to pledge, mortgage or grant deeds of trust
with respect to, its right, title and interest in and to its properties and assets, whether now owned
or hereafter acquired, to the extent required to secure the obligations of the Loan Parties under
the DIP Credit Agreement, Guaranty and Security Agreement and the other DIP Transaction; and
it is further

       RESOLVED, that each of the Authorized Persons be, and each of them hereby is,
authorized to negotiate, execute and deliver the DIP Credit Agreement, the Guaranty and
Security Agreement and the other DIP Transaction to which the Company is a party in the name
and on behalf of the Company in the form and upon the terms and conditions as any Authorized
Person may approve (such approval to be conclusively established by such Authorized Person's
execution and delivery thereof), and to perform the Company's obligations thereunder including
the payment of any fees and expenses related thereto, and to take all actions in accordance
therewith that any such Authorized Person may deem necessaty or advisable to consummate the


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transactions contemplated thereby, and the actions of such Authorized Person in negotiating the
terms of and in exècuting and delivering, the DIP Credit Agreement, Guaranty and Security
Agreement and the other DIP Transaction, and any other action taken in connection therewith, on
behalf of the Company be, and the same hereby are, ratified, confirmed, approved and adopted;
and it is further

        RESOLVED, that the filing of Uniform Commercial Code financing statements, and any
amendments and continuation statements thereto, and any other filings, recordations, or
registrations of any DIP Transaction Documents or any other document, agreement, certificate or
instrument in anylurisdictions or with any filing offices as contemplated by or specified in the
relevant Transaction Documents or as otherwise advisable, is hereby authorized in such form as
any Authorized Person shall approve; and it is further

       RESOLVED, that any Authorized Person be, and each of them hereby is, authorized and
empowered in the name and on behalf of the Company to execute and deliver any offtcer's,
secretary's or similar certificate on behalf of the Company in connection with the DIP Credit
Agreement, Guaranty and Security Agreement or any of the other DIP Transaction or any
amendment to which it is a party and the transactions contemplated therein, with such changes as
such Auth orized Person executing the same may approve, such approval to be conclusively
evidenced by the execution and delivery thereof; and it is further

       RESOLVED, that the Board hereby approves and adopts the Purchase Agreement,
substantially in the form attached hereto as Exhibit A, and declares the Purchase Agreement
advisable and in the best interest of the Company; and it is further

       RESOLVED, that the Authorized Persons are, and each of them hereby is, authorized
and directed in the name and on behalf of the Company to negotiate, execute and deliver the
Purchase Agreement, substantially in the form attached as Exhibit A, and the Purchase
Agreement Documents, with such changes as the Authorized Person executing the same may in-
hii or her discretion approve, the execution and delivery thereof to be conclusive evidence of
such approval, and to perform the transactions and obligations contemplated by the Purchase
Agreemãnt and the Purôhase Agreement Documents, subject to bankruptcy court approval in the
Company's chapter 11 case; and it is further

       RESOLVED, that the Authorized Persons and agents designated by any such Authorized
Person be, and each of them hereby is, authorized and empowered, in the name and on behalf of
the Company, to do and perform all such further acts and things, and execute and deliver, all
such agreements, certificaies, consents, instruments and documents and to prepare or cause to be
pr"pu."d, execute and file or cause to be filed with any foreign, federal, state or other regulatory
àgencies any reports, filings, applications or other documents, and to seek all governmental or
regulatory consénts, approvals and rulings, required or advisable with respect to the transactions
contemplated by the- Purchase Agreement Documents, including without limitation those
requireâ by (x) the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, and (y)
any and ail applicable requirements of antitrust or other competition laws of jurisdictions other
than the Unitèd States, and to do or cause to be done all such further acts and things as may be
necessary or advisable under or in connection with the foregoing Resolutions, and the execution
by an Authorized Person or agent of any of the foregoing or the doing by any such Authorized


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Person of any such act or thing shall be conclusive evidence of a determination in that respect
and approval thereof; and it is further

       RtrSOLVED, that the Authorized Persons and agents designated by any such Authorized
Person be, and each of them hereby is, authorized and empowered, in the name and on behalf of
the Company, to take any and all action to notify, and to obtain any authorizations, consents,
waivers or approvals of, any third parties that such Authorized Person deems necessary,
advisable or àpp.opriate in order to carry out the transactions contemplated by the Purchase
Agreement Documents or the intent and purposes of these Resolutions; and it is further

        RESOLVED, that the retention of Davis Polk & V/ardwell LLP pursuant to the June 2,
2016 rctention agreement and the execution of any retention agreements, the payment of any
retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are, and each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retain bavis Polk & Wardwell LLP as the Company's bankruptcy counsel; and it is
further

         RESOLVED, that the retention of Landis Rath & Cobb LLP pursuant to the November
20,2018 retention agreement and the execution of any retention agreements, the payment of any
retainers, fees or ."p"nr"r, and the approval of any matters related thereto, be and hereby are
ratified, adopted, and approved in all iespects as the acts and deeds of the Company and the
Authorized Persons a.", und each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retain Landis Rath & Cobb LLP as the Company's Delaware bankruptcy counsel;
and it is further

        RESOLVED, that the retention of Guggenheim Partners, LLC pursuant to the November
2,2018 retention agreement and the execution of any retention agreements, the payment of any
retainers, fees or           and the approval of any matters related thereto, be and hereby are
                   "*p.rr"r,
ratified, adopted, and approved in all respects as the acts and deeds of the Company and the
Authorized Persons are,-and each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retainbuggenheim Pâftners, LLC as the Company's investment banker; and it is
further

        RESOLVED, that the retention of Ernst & Young LLP pursuant to the November 2,
2018 retention agreement and the execution of any retention agreements, the payment of any
retainers, fees or expenses, and the approval of any matters related thereto, be and hereby are
ratified, adopted, und upprorred in all respects as the acts and deeds of the Company and the
Authorized Þ"rronr are, and each of them hereby is, authorized and directed to immediately upon
and after the filing of the bankruptcy case execute and cause to be filed an application for
authority to retain Ernst & Young LLP as the Company's financial advisor; and it is further

        RESOLVED, that the retention of Prime Clerk LLC pursuant to the January 24,2019
retention agreement and the execution of any retention agreements, the payment of any retainers,


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fees or expenses, and the approval of any matters related thereto, be and hereby are ratified,
adopted, und upptoued in ali iespects as the acts and deeds of the Company and the Authorized
Perions ur., und each of them hèreby is, authoÅzedand directed to immediately upon and after
the filing of the bankruptcy case execute and cause to be filed an application for authority to
retain Prime Clerk LLC as the Company's notice and claims agent; and it is further

         RESOLVED, that all instruments, agreements, certificates, consents ,notices, waivers or
other documents heretofore executed and delivered (or caused to be executed and delivered) and
all acts lawfully done or actions lawfully taken by the Authorized Persons in connection with the
chapter 11 case, the DIP Credit Agreement, the Guaranty and Security Agreement, the DIP
Transaction Documents, the Purchase Agreement, the Purchase Agreement Documents' or any
further action to seek relief on behalf of the Company under chapter I 1 of the Bankruptcy Code,
or in connection with the chapter 11 case, or any matter related thereto, be, and hereby are,
adopted, ratified, confirmed, and approved in all respects as the acts and deeds of the Company;
and it is further

          RESOLVED, that any and all acts, actions and transactions heretofore taken by the
Authorized persons or the Board in the name of and on behalf of the Company in furtherance of
the purpose and intent of any or all of the foregoing Resolutions, which acts, actions and
transactions would have been approved by the foregoing Resolutions except that such acts were
taken before the Resolutions were adopted, be, and hereby are, ratified, confirmed, approved,
and approved in all respects, and as acts, actions and transactions on behalf of the Company; and
it is further

       RESOLVED, that .Resolution may be executed in any number of counterpafts, each of
which shall be deemed an original and all of which together shall be deemed to constitute one or
the same Written Consent.




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       lN WITNESS ïVHEREOF,          the undersigned have executed this resolution as   of
the          written




John            Director


       Langer, Director


Gabriel Leung Director


Douglas   Swirsk¡ Director


John Leone, Director




            lSignature Page to Perníx Therøpeutìcs HoldÍngs, Ine, Resolutìonsl
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                                                        i



         IN \ilITNESS ïVHEREOF, the undersigned h¿ive executed this resolution as of
the date first written above.
                                                        a:




                                                        i
                                                        I
                                                        I

John   A. Sedor, Direstor


Dennis Langeç Director


Gabriel Leung, Director


Douglas Swirsky, Director


John Leone, Director




                                                             *

            fSignature Page to Pernix Therapeutícs   Hotd,W, Inc. Resolution$
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     19,   1:




                    IN lryITNESS WIIBRßOF, the undersigned hsve
                exçcutsd üis resolution as of the date first uryitten sbove.




                John .4,. $edor, Dirsctor



                Dennis Langer, Directsr

                             *f;
                Gabriel   k*gn

                Douglas Swirsky; Dircctor



                John Leons, Ðirpctor

                   ïSignafiirv Page to Perníx TherapeutÍcs Holdings, Inc.
                                        Resolutíonsl




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         IN WITNESS WIIEREOF, the undersigned have         executed this resolution as   of
the date first written above.




John   A. Sedor, Director


Dennis Langer, Director


Gabriel Leung,


Douglas Swirsky, Director


John Leone, Director




             fsignature Page to Pernix Therapeutics Holdings, Inc' Resolutionsl
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       IN WTilìIESS WffiREOß', the wdersigned have executed this resolution   as   of
the daæ first writæn above.




John A. Sedor, Director


Dennis Langer, Dircctor


Gabriel tæmg, Director


Douglas           Director
